                                       
                              NO. 07-09-00288-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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APRIL 19, 2010
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                         ROBERT CHELLO GUZMAN, JR.,  
                                  	Appellant
                                      v.
                                       
                             THE STATE OF TEXAS,  
                                   	Appellee
                         _____________________________
                                       
               FROM THE 251ST DISTRICT COURT OF RANDALL COUNTY;
                                       
                NO. 20,344-C; HONORABLE ANA ESTEVEZ, PRESIDING

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Memorandum Opinion
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
	Robert Chello Guzman, Jr., appeals his conviction for burglary of a habitation.  The conviction was founded upon his guilty plea.  He now contends that the judgment should be reversed because the trial court did not admonish him in conformance with art. 26.13(a) of the Texas Code of Criminal Procedure.  The State agrees with both aspects of his contention.   Accordingly, we reverse the judgment of the trial court and remand the cause for further proceedings.
							Brian Quinn
							Chief Justice
Do not publish.
